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                    THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           FORT WAYNE DIVISION

        LIGTEL COMMUNICATIONS,          )
                                        )
                  Plaintiff,            )
                                        )
                                        )CAUSE NO: 1:20-cv-37
        v.                              )
                                        )
        BAICELLS TECHNOLOGIES, INC. and )
        BAICELLS TECHNOLOGIES NORTH     )
        AMERICA, INC.,                  )
                  Defendants.           )
        ---------------------------------


                 TRANSCRIPT OF TELEPHONIC HEARING ON

                       PRELIMINARY INJUNCTION HELD

                       APRIL 15, 2020, BEFORE THE

                HONORABLE HOLLY A. BRADY, UNITED STATES

                           DISTRICT COURT JUDGE




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1            (Whereupon, the following proceedings were held on

2      April 15, 2020, in open court, with all counsel appearing

3      via telephone:)

4                 THE COURT:    Good morning, everyone.      We're on the

5      record now in LigTel Communications, Inc. versus BaiCells

6      Technologies, Inc. and BaiCells Technologies North America,

7      Inc. in case number 1:20-cv-37.        This matter is scheduled

8      today for a hearing on LigTel Communications' Motion for

9      Preliminary Injunction.

10          Let the record reflect that the parties are participating

11     by telephone, and the plaintiff is represented by Attorneys

12     Gabriel Gillett, Sam Feder, Michael Schultz and Leigh Jahnig.

13          The defendants are represented by Adam Arceneaux, Eric

14     McKeown and Jessa DeGroote.

15          It's my understanding that Mr. Gillett will be speaking on

16     behalf of LigTel Communications, and that Mr. Arceneaux will

17     be speaking on behalf of the defendants, is that correct, Mr.

18     Gillett?

19                ATTORNEY GABRIEL GILLETT:      Yes, it is, Your Honor.

20     Good morning.

21                THE COURT:    Good morning.    And Mr. Arceneaux, is that

22     correct, you'll be addressing the Court on behalf of the

23     defendants?

24                ATTORNEY ADAM ARCENEAUX:      Yes, Your Honor.

25                THE COURT:    Okay.   First, I just wanted to let you
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1      know -- and thank you for your pre-hearing submissions.            The

2      Court has had the opportunity to review and study the briefs

3      that were filed in anticipation for today's hearing, and I

4      also appreciate the cooperation of counsel in agreeing to move

5      forward with this motion for a preliminary injunction through

6      a telephonic oral argument.

7           With that, I will go ahead and turn it over, then, to Mr.

8      Gillett to argue on behalf of LigTel Communications in support

9      of the motion for a preliminary injunction.

10          Mr. Gillett, please go ahead.

11                ATTORNEY GABRIEL GILLETT:      Thank you, Your Honor.       If

12     it's okay, I would like to start with the 3 high-level reasons

13     why I think the Court should grant LigTel's motion.           And then

14     I would be happy to answer the Court's questions and provide

15     more detail, if it would be helpful.

16                THE COURT:    That would be fine.     Thank you.

17                ATTORNEY GABRIEL GILLETT:      First, the key facts here

18     -- great, Your Honor.

19          The first point is that the key facts here are undisputed.

20     The HNI codes are and always have been 6 digits in the United

21     States.    They're assigned by an industry group called ATIS,

22     and ATIS assigned LigTel 311980.

23          Rather than get its own 6-digit code from ATIS, BaiCells

24     chose to assign itself a 5-digit code, 31198.          But BaiCells

25     has not offered any explanation for why it --
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1                 THE COURT:    Mr. Gillett.    Mr. Gillett, I apologize,

2      can you hang on for one moment?

3           Could you please get closer to the phone?         It's a bit

4      difficult to hear you.      I have the benefit of seeing realtime

5      reporting, but it would be very helpful to our Court Reporter

6      if you could get a little bit closer to the phone so she can

7      hear you more clearly?

8                 ATTORNEY GABRIEL GILLETT:      Sure.    Is this better,

9      Your Honor?

10                THE COURT:    That's better.

11                ATTORNEY GABRIEL GILLETT:      Okay.    Great.

12          So as I was saying, LigTel has a 6-digit code.          BaiCells

13     chose to assign itself a 5-digit code that is 1 digit away

14     from LigTel's code.

15          However, the evidence shows that 31198 is the same as

16     311980.    ATIS, the HNI administrator that controls the

17     process, BaiCells itself and customers all say that those two

18     codes are the same.

19          The evidence also shows that BaiCells used a 31198 that's

20     caused actual confusion and actually misled at least 3

21     Internet Service providers.       Nevertheless, BaiCells has

22     continued using that number to LigTel's detriment, and it

23     continues to do so today.

24          The second point is that applying the Seventh Circuit's

25     sliding scale approach, LigTel has met the standard for a
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1      preliminary injunction.       LigTel has shown that BaiCells used a

2      31198, mixed the signal from BaiCells' equipment, appear to be

3      LigTel's -- and BaiCells' use of that code in communications

4      misleads providers into believing that 31198 is valid and

5      authorized.

6           Those actions violate 2 different aspects of the Lanham

7      Act.   One is called palming off, and the other is

8      misrepresentation.      And the resulting confusion has

9      irreparably harmed LigTel's goodwill and reputation.

10          The third point is that the balance of harm favors LigTel

11     and supports preliminarily enjoining BaiCells.           BaiCells has

12     itself to blame for any burden that a preliminary injunction

13     would impose.     And that's important, because the case law says

14     that you don't need to consider that when balancing the

15     relative harm.

16          And a preliminary injunction is warranted here, despite

17     BaiCells' efforts to migrate to its own HNI code.           The

18     evidence shows that BaiCells is causing harm and confusion

19     today.    That alone justifies an injunction, even if BaiCells

20     claims that it may stop using 31198 in the future.

21          And, importantly, without an injunction, LigTel is still

22     at risk because the ATIS-led migration process that BaiCells

23     relies so heavily on is voluntary, it's non-binding and it's

24     unenforceable.     That is exactly why we came to court after

25     going through that process.
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1           In addition, that plan is substantively inadequate,

2      because BaiCells' SIM cards will continue to use 311980, even

3      after the migration is complete.

4           And one last point, Your Honor.        BaiCells said in its

5      papers that an injunction risks harm to non-parties.            We

6      disagree.    There is no risk to non-parties for ordering

7      BaiCells to complete the software aspect of the migration

8      immediately.     They can do it remotely.      It doesn't require

9      contact with customers, and it's an update that they have

10     already written and rolled out and it's already in place.

11          And, in addition, the Court can, of course, tailor any

12     injunction to avoid any risk that it sees.          Therefore, those

13     are the 3 key reasons we think the Court should grant LigTel's

14     motion and enjoin BaiCells from using 31198.

15          With that, I'd be happy to answer the Court's questions.

16                THE COURT:    Thank you, Mr. Gillett.      I do have some

17     questions for you.      I guess one of the questions that the

18     Court has is exactly what does LigTel contend the irreparable

19     harm is that it suffered?

20                ATTORNEY GABRIEL GILLETT:      Your Honor, that harm is

21     damage to our goodwill and reputation, and it's manifested in

22     a couple of ways.      The first is, frankly, when we found out

23     that this was happening, it was because a company called

24     Viaero contacted us and said that our signal was interfering

25     with their signal.      That alone made us look like a bad actor
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1      to Viaero and damaged LigTel's reputation.          Of course, you

2      know, we've resolved that issue, but it doesn't fix the

3      problem.

4           And I think the second way that the harm manifests is in

5      making us look -- making LigTel look like it doesn't follow

6      the applicable rules and guidelines that apply to service

7      providers.    These are the ATIS rules and some of the other

8      guidelines that, for example, require LigTel to be able to

9      know where all of its end users are, where everyone using the

10     LigTel SIM card is.

11          Because of what BaiCells is doing, LigTel can't comply

12     with those rules.      And because it looks like a bad actor, it

13     makes it more difficult for LigTel to interface with other

14     providers.    They do that by negotiating cross border

15     agreements.    They do that with industry technical groups where

16     the different companies share information.

17          But the evidence is that if LigTel looks like a bad actor

18     because their signal is causing inference or because they

19     can't control their network or because there are all these

20     communications that look like they're coming from LigTel when

21     they're not --

22                THE COURT:    But has LigTel actually suffered any

23     damage as a result of this isolated incident that happened

24     back in June 2019?      For example, has it noticed any reduction

25     in its revenues, its customers or anything?
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1           It seems to me that their irreparable harm is very

2      speculative, in that LigTel argues that its reputation has

3      been harmed, because it looks like it's interfering with other

4      providers when, in fact, it has not.

5           Has LigTel really suffered any tangible harm?

6                 ATTORNEY GABRIEL GILLETT:      A couple of points, Your

7      Honor.    The first is that the nature of the harm that we're

8      suffering is, by definition, it can't be quantified.            So there

9      isn't a number I can give you to say because of the damage to

10     our reputation and goodwill, we've lost "X" number of

11     customers or lost "X" number of reduction of sales.           That type

12     of harm would be compensable by damages.         Whereas, the harm

13     we're suffering can only be resolved through an injunction.

14          I think the second point that's important to remember is

15     that we don't need to show actual harm in order to meet the

16     standard for a preliminary injunction.

17          The Seventh Circuit has been very clear that what the

18     Court is looking for is a likelihood of harm, not that a harm

19     has already happened.      We are not required to wait until a

20     customer says to us, We heard about this issue and so we're

21     leaving you before going to court.

22          And the reason that we're here and we're here now is

23     because we're proactive.       We know that there's actual

24     confusion.    We know that customers in the market are confused

25     about this stuff.      We know that there is no dispute whatsoever
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1       that BaiCells is using this code and it's our code, and we

2       think that's all we need to get a preliminary injunction.

3           So the fact that there hasn't been a tangible reduction in

4       revenues or sales or something like that, frankly, it isn't

5       relevant to the Court's analysis at the end of the day.

6                  THE COURT:   Do you agree in BaiCells' response it

7       pointed out the eBay decision as well as the Flava Works

8       decision that questions whether or not irreparable harm is

9       presumed?    Do you agree that irreparable harm is not presumed

10      in this case?

11                 ATTORNEY GABRIEL GILLETT:      Well, we don't, Your Honor

12      and here's why:     EBay was a patent case; Flava Works was, I

13      think, a copyright case.      So under Seventh Circuit law, the

14      presumption of irreparable harm in Lanham Act cases still

15      exists.

16          Now, I think more importantly, the issue is that we aren't

17      claiming that we're irreparably harmed just because we have a

18      Lanham Act claim.     We're claiming irreparable harm because of

19      the type of damage that we're suffering, meaning the goodwill

20      and the reputation.     And there is no dispute, even after eBay

21      and after Flava Works and the other cases, that that type of

22      harm is still irreparable, it's presumptively irreparable.

23      And frankly, that type of harm comes up in many other types of

24      cases.    It's not limited to the Lanham Act.

25          But what eBay and Flava Works were dealing with was
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1       whether if you have a Lanham Act claim, you need to show

2       irreparable harm, you know, you need to provide evidence of

3       it.   We're not claiming we don't need to provide that

4       evidence.    We think we have provided it, just as we discussed.

5                 THE COURT:    With respect to the trade secrets, it

6       seems that the briefs, the LigTel briefs kind of gloss over

7       exactly what trade secrets you contend have been

8       misappropriated.     I mean, you're not contending that the HNI

9       number is a trade secret, are you?

10                ATTORNEY GABRIEL GILLETT:       That's correct.

11                THE COURT:    So exactly what trade secrets does LigTel

12      contend have been misappropriated?

13                ATTORNEY GABRIEL GILLETT:       We think there are 3

14      types.   The first is LigTel's encryption code.         The second is

15      LigTel's network architecture.       And the third is the network

16      engineering.    And I think those last two categories, maybe the

17      Court can think about them like the blueprints for a building.

18            They are the inner workings of how our network works.

19      They are proprietary.      They are confidential.      They are the

20      result of much effort and fine tuning and constant tweaking to

21      make sure that the system works.        And that stuff is not only

22      confidential, it's also valuable.

23                THE COURT:    But what evidence is there that anyone

24      with BaiCells has misappropriated the network architecture or

25      the network engineering or the encryption code?
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1                 ATTORNEY GABRIEL GILLETT:       The evidence, Your Honor,

2       is sort of a stack of stuff.       It is admittedly circumstantial,

3       but we think that it adds up to make it appear as though they

4       have this information.

5           And the way that happened is that a company called

6       Huawei -- LigTel worked with a company called Huawei to build

7       a network.    LigTel gave those three type of trade secrets to

8       Huawei, subject to a non-disclosure agreement.          Huawei built

9       the LigTel network, which was the first one in the United

10      States, the first LTE network.

11          After that, 2 of Huawei's employees left to found BaiCells

12      to complete with Huawei in the United States to provide

13      exactly these types of networks.        And from there, there are

14      more facts that at least support the inference that BaiCells

15      has our trade secrets.

16                THE COURT:    I mean, if you're talking about -- I

17      mean, I read the E-mail about allegedly touting the experience

18      of the former Huawei employee.       I mean he simply listed LigTel

19      as of one of, I think, there were 19 different customers.            All

20      he did was list them as a company with whom he had contact.            I

21      don't think that that goes so far as touting his experience in

22      order to get the job.      I think that over characterizes --

23      mischaracterizes and overstates what the evidence is on that.

24          And with respect to, I mean, I read the information about

25      the July 29th, 2019 meeting when a statement was allegedly
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1       made.   And even if I assume that the statement was made that

2       they could get into LigTel's network, there's nothing to

3       indicate that they were able to do that without receiving

4       information from LigTel.

5           I don't see -- you pointed out at the beginning of your

6       remarks that it's circumstantial evidence.         And I think it's

7       pretty light circumstantial evidence at that.          So is there any

8       other evidence, other than the two pieces of evidence that I

9       just discussed?

10                ATTORNEY GABRIEL GILLETT:       I mean, I would say that

11      mostly captures it.     I think the third piece of evidence that

12      the Court should consider is Mao's own statement -- Mr. Mao is

13      the person who allegedly can get into our network.

14          His declaration includes an exhibit where he describes --

15      he's talking to his BaiCell colleagues about strategy for

16      dealing with LigTel; it's an exhibit to his declaration.

17                THE COURT:    Is that the one where he said that he dug

18      through his notes?

19                ATTORNEY GABRIEL GILLETT:       That's right.     He says

20      he's dug through his old notes --

21                THE COURT:    Well, couldn't his old notes be something

22      as much as just names of people?        I don't know that digging

23      through his notes necessarily equates to him misappropriating

24      information in violation of the parties' non-disclosure -- or

25      the Huawei and LigTel non-disclosure agreement.
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1                 ATTORNEY GABRIEL GILLETT:       Your Honor, I take Your

2       Honor's point.     I think the statement is more important

3       because it reflects on Mr. Mao's lack of credibility, that

4       what he's talking about in that e-mail is digging through old

5       notes, and he provides a bunch of technical information,

6       details in e-mails that seems like it would have been written

7       down.   But then in his declaration, he says, "Actually when I

8       said 'old notes,' what I was talking about was my memory."            To

9       me, that is just, on its face, not believable.          And I think if

10      Mr. Mao is going to represent to the Court that when he wrote

11      the phrase to his colleagues "Digging through my old notes,"

12      what he really means is he was scratching his head thinking

13      about it, I think the Court has grounds to disregard

14      everything in his declaration.       And I think that's not the

15      only issue that we found.

16          I think, similarly, on the HNI code issue, Mr. Jeffrey

17      Raasch, I believe is his name, submitted a declaration from

18      BaiCells, submitted a declaration saying that HNI codes are 5

19      or 6 digits.    He has no support for it.       He has no -- cites to

20      no authority for it; he just asserts it.         But all of the

21      evidence in the record says that's patently not true.

22          The HNI administrator says HNI codes in the United States

23      are a fixed 6-digit code.      BaiCells own documents, the e-mails

24      among the colleagues and a couple of reports that we saw say

25      HNI codes are 6 digits.      We've looked.     Every HNI code in the
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1       United States is 6 digits, therefore we're going to chose a

2       5-digit code.    But there's no --

3                 THE COURT:    And I'm certainly going to ask Mr.

4       Arceneaux exactly how BaiCells landed upon those 5 digits,

5       understanding -- it's my understanding that the 311 is not

6       unique; that all of the HNI codes in the U.S. start with 311.

7       So we're down to those final 3 digits.

8           But aside from that, exactly what advantage does BaiCell

9       gain by using the same HNI code?        That's troubling to me.      I

10      don't understand exactly what advantage they have by using

11      that.   Can you shed any light on that?

12                ATTORNEY GABRIEL GILLETT:       I can.   I want to just

13      correct one little bit, Your Honor, and that is that 311 is a

14      country code for United States, but it's not the only one;

15      310, 311, 2, 3, 4, 5 and 6 are all country codes for the

16      United States, and so it's not as though -- I mean, I guess in

17      BaiCell's version of the world, they had a 1 in 99 chance of

18      picking our number.     That's not even -- even to pick our

19      number out of 99 is pretty unbelievable.         But it actually was

20      picking our number out of 99 times 5 or 6 maybe -- my math

21      might be off.    And that even assumes they're going with 6

22      digits.

23          But beyond that, I think the reason -- you know, I think

24      it's up to BaiCells to explain why they would have taken our

25      code.   I think that we're a solid company.        We've been in the
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1       market for a long time, we're family owned, and I don't know

2       exactly why they would have taken our code, except our

3       reputation is stellar and we built the first LTE network in

4       the United States and so I think our experience probably is

5       valuable.    I think that to use our code, you know, brings an

6       air of goodwill.     We have a strong reputation --

7                  THE COURT:   Goodwill with whom?

8                  ATTORNEY GABRIEL GILLETT:      -- reputation in the

9       industry and we are really leaders in this technology.           I

10      think with other providers, with the rest of the market.

11                 THE COURT:   With the other providers, not necessarily

12      with the end user; not with the consumer?

13          I mean, explain this to me, Mr. Gillett, so if other

14      providers are out shopping with your competitors, who exactly

15      looks at it and says oh, they're 311980, that's a great

16      company?    I mean, I don't understand where the discussion of

17      the 311980 or the HNI code would ever even come into any

18      discussion when you're selecting a provider.

19                 ATTORNEY GABRIEL GILLETT:      I don't disagree, Your

20      Honor.   I think that for purposes of the Lanham Act, though,

21      the end user is not relevant here.        I think that the Lanham

22      Act makes it an issue to palm off a product or service.            It

23      makes it an issue to misrepresent a product or service.            It

24      doesn't have to be misrepresented to the customer.           And what

25      the evidence is the end user customer.
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1           What the evidence shows is that Internet service providers

2       are customers in the context of this case.         That's who

3       BaiCells sells its equipment and services to.          Those are the

4       companies that we are competing with.        Those are the companies

5       that are misled and they do look at the HNI code.           That's why

6       the Viaero incident happened, precisely because Viaero's

7       signal was being interfered with.        The signal that was

8       interfering had the LigTel HNI code affiliated with it, and so

9       they called us and they said, "Stop messing with our signal."

10          This isn't the situation like, I grant you, many other

11      Lanham Act cases where you have retail-level confusion and the

12      issue is it's a retail-level customer going to be confused.

13      That's just not relevant here, because you're right, and you

14      know, we grant that the retail-level customer is not choosing

15      based on HNI codes.

16          But the provider level of the market does look at HNI

17      codes.   They rely on them --

18                THE COURT:    They rely upon them in determining if

19      there's interference, is that fair?

20                ATTORNEY GABRIEL GILLETT:       That's fair, and also in

21      determining whether another provider is complying with the

22      applicable rules.

23          So if you were going to talk about doing -- if you were

24      working on a cross-border agreement with another company, it

25      would certainly be part of the negotiating and evaluation to
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1       figure out do I have a good actor on the other side or do I

2       have a bad actor.

3           When LigTel comes to other companies and says we're having

4       trouble with this aspect of our network, if you had experience

5       with this, you know, can you share some information?           If other

6       providers think we're bad actors, that we don't follow the

7       rules, they're not going to help us.        The reality is --

8                  THE COURT:   And I apologize, I can't remember the

9       exact name, but the June 2019 entity, Viaero, I believe it

10      was, so if they went out and started telling Internet service

11      providers that LigTel was interfering, then LigTel could

12      experience some harm in the industry, is that what you're

13      saying?

14                 ATTORNEY GABRIEL GILLETT:      I think the fact that

15      Viaero thinks that we're interfering is harm enough.           But yes,

16      if they go out and tell others, that amplifies the harm.            And

17      I think the other evidence in the record relates to a company

18      called Sandhills.     Sandhills thought the 31198 was an

19      authorized code and, in fact, it was not.         They didn't realize

20      it was our code, and that they had no authority to use it.

21          The same thing with a company called New Lisbon that's in

22      Indiana.    When we approached them and said, "Are you using

23      31198, that's our code," the evidence is that they said, "Oh,

24      we didn't realize that was your code.        We thought it was

25      BaiCells.    We didn't realize we were using it without
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1       authorization."

2           So it's not as though this is one incident.          I think the

3       issue is that one incident is what sparked us to do an

4       investigation and figure out that this was an issue that

5       BaiCells is creating all around the country.

6                 THE COURT:    In BaiCells' brief they argue that

7       consumer confusion is required.       Do you agree that consumer

8       confusion is required?      Well, I guess, first, has there been

9       any actual consumer confusion?

10                ATTORNEY GABRIEL GILLETT:       The answer is yes and yes,

11      Your Honor.    Consumer confusion is required, and we have

12      actual evidence of actual consumer confusion.

13          BaiCells doesn't acknowledge in their brief -- and I think

14      we deal with this pretty well in our response, at least I hope

15      you thought it was pretty well -- that consumer confusion, for

16      purposes of the Lanham Act, does not mean end-user confusion.

17          So as we discussed, it is not as though we don't meet the

18      Lanham Act elements just because retail customers are not

19      confused in this case.      There are plenty of Seventh Circuit

20      cases and cases from elsewhere where the issue is not end-user

21      confusion, but rather confusion at the relevant level of the

22      market.   And that's what the Court looks to.

23          It doesn't necessarily -- you know, if BaiCells is making

24      equipment and selling it to providers, you look to the

25      provider confusion.     BaiCells doesn't sell to end users
                                                                      020
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1       either, so the end users are not likely to be confused by what

2       BaiCells does.     But that doesn't immunize BaiCells from

3       violating the Lanham Act just because it doesn't sell to end

4       users.

5           And I think on the actual confusion point, Viaero and

6       Sandhills and New Lisbon are all examples of actual confusion

7       in the record.     The undisputed evidence, which BaiCells does

8       not address anywhere, even after seeing it in our opening

9       brief, those 3 companies at least say, "We didn't realize that

10      31198 was not BaiCells' code, and it is your code and that we

11      didn't have authorization to use it."

12          That's why, I believe it's Sandhills, enters into a

13      license with us to use that code, because they were afraid

14      that they were violating the rules, as they were.

15          Same thing with New Lisbon.       We didn't end up with a

16      license, but in the conversation with them, they were

17      similarly confused.     They thought that BaiCells had the

18      authority to use that code, and they do not.

19          And from the part of Viaero, there is a quote from the

20      Viaero executive that we spoke with, and he says, "BaiCells

21      should not be telling clients to use your information.

22      Sandhills should shut down until they have their own code."

23      That's precisely because Viaero was confused.

24                THE COURT:    With respect to the Mitigation Plan that

25      LigTel -- I'm sorry -- I apologize -- that BaiCell submitted,
                                                                      021
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1       what about the Mitigation Plan is objectionable from LigTel's

2       perspective?

3                 ATTORNEY GABRIEL GILLETT:       I think there are a couple

4       of points.    The first is that it is voluntary and

5       unenforceable.     And so, from our perspective, given that

6       BaiCells has been using our code for a long time, continued to

7       do it and still has no explanation for its activity, we don't

8       trust that they're going to follow through on it to begin

9       with.

10          But I think, even assuming they do, we have 2 additional

11      issues.   The first is that they propose to not be done until

12      July, which we think they should be required to be done much

13      sooner, especially given the fact that we told them about this

14      issue, I think now, 9 months ago.

15          The second issue -- and I guess on that front, there are 2

16      parts of the upgrade.      The first is 2 parts of the migration.

17      The first part is a software upgrade, and that's all that

18      they've done so far; I think it's about 20 percent of their

19      customers, maybe it's 25.      They pushed out this software

20      upgrade that stops the signal coming from BaiCells' equipment

21      from looking like it's coming from LigTel.

22          But there's no reason -- we think their plan is

23      inadequate, because it waits until July to fix the other 75

24      percent of the customers.

25          The second component is a physical one, and that has to do
                                                                      022
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1       with SIM cards, which are the chips, little microchips in all

2       of the devices.     And those SIM cards actually say on them

3       "311980."    They have our code.     They're identified as LigTel's

4       SIM card, and BaiCells' Migration Plan does not commit to

5       changing SIM cards for existing users.         We think that's a huge

6       problem with it, because until those SIM cards are swapped

7       out, they're still not complying with the ATIS rules, and

8       there's still a possibility -- there's still a real risk of

9       confusion, both on the part of providers and on the part of

10      the law enforcement.

11                THE COURT:    And I'll ask Mr. Arceneaux about the SIM

12      cards, but I know in one of the exhibits that was submitted to

13      the Court, the status update indicates that at least new SIM

14      cards were being shipped out to operators beginning in

15      February of 2020.     So we'll hear from BaiCell about the new

16      SIM cards.

17          But with respect to the timing, what harm is LigTel going

18      to suffer between now and July 1st?        Is there any new harm

19      other than what you've already told me about?

20                ATTORNEY GABRIEL GILLETT:       Got it.   On the SIM card

21      issue, Your Honor, I would point out I think what they're

22      doing, at best, is changing SIM cards for new customers, but

23      it's a little bit unclear in the record whether they have

24      60,000 or some smaller number of existing SIM cards in the

25      world.
                                                                      023
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1           And the way we read the Migration Plan, the way we've read

2       counsel's representations about it, we don't think that

3       they're planning to swap out those possibly 60,000 cards.

4           As for the harm, there is not some additional harm, some

5       new aspect of harm that we think will happen between now and

6       July.   But we're being harmed today.       They are using our code

7       with no basis for doing so and, frankly, without any

8       identified defense for doing so today.

9           And so, frankly, every day that goes on when we have this

10      overhanging risk based on the actual confusion, we think, is a

11      bad day.    And we also think the fact that, you know, we're not

12      asking the Court to order them to develop some new software

13      and deploy it to make sure, you know, when there could be bugs

14      in it to cut people off the Internet.

15          This software has already been written, it's already been

16      tested, it's already been deployed.        The only issue is that

17      right now BaiCells has encouraged its customers to update the

18      software.    They are not requiring it.      And I think there's no

19      reason that the Court can't issue an injunction that requires

20      them to do the software update essentially immediately,

21      because it's already ready to go, and that would resolve a

22      huge risk of harm, because it would fix the signal issue.            It

23      would stop the palming off problem that we've identified.

24                 THE COURT:   So in terms of the injunctive relief that

25      you're seeking, you filed a motion for a preliminary
                                                                      024
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1       injunction.    Are you seeking to then maintain the status quo,

2       or are you seeking something more than that?          There you just

3       mentioned that you require them to go ahead and implement this

4       new update immediately rather than waiting until January (sic)

5       1st.

6           Exactly what does the injunction that LigTel is seeking

7       look like?

8                  ATTORNEY GABRIEL GILLETT:      It would be more than the

9       status quo.    The injunction we seek would require BaiCells to

10      upgrade the software immediately.        It would require LigTel --

11      require BaiCells, excuse me, to replace the SIM cards for

12      existing users, I think, as soon as practicable.          Because of

13      the physical component of that, you know, we recognize that we

14      don't advocate that the Court require BaiCells to go out and

15      make physical contact with people under the circumstances we

16      find ourselves in.

17          And then I think the other components of an injunction

18      would require that BaiCells not use our number in any fashion

19      anymore.

20          And as the Court might recall, even when we got to court

21      the first time, BaiCells was still using our code in its

22      communications on its website.       It was only when the Court

23      intervened, that BaiCells finally agreed to take our code off

24      of the website.     And I think that, you know, in terms of

25      whether the Court feels like the injunction would just
                                                                      025
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1       implement the status quo, I think the injunction can require

2       BaiCells to cease using the code immediately, but give them a

3       little bit of time to come into compliance with that.           I think

4       they don't need to go until July, but I am conscious of the

5       fact that, you know, if the Court issues an injunction at noon

6       today, BaiCells needs a little bit of time to get the update

7       out there into the world.

8                 THE COURT:    What period of time do you think is

9       reasonable to allow them to get the update?

10                ATTORNEY GABRIEL GILLETT:       Sure.   You know, I don't

11      have a good answer, Your Honor, because I think it depends on

12      -- that's something that BaiCells would probably need to give

13      us more evidence about.      I think it could be done quickly.

14                THE COURT:    Well, but haven't they already told you

15      the evidence is July 1st at this point?         I mean, what evidence

16      does LigTel have that July 1st is not reasonable?

17                ATTORNEY GABRIEL GILLETT:       Your Honor, they have not

18      said that they need until July 1st.        They just decided to do

19      it July 1st.    And so right now, they are encouraging their

20      customers to do the update, but there's no reason they can't

21      require the customers do the update.

22          My understanding from talking with Mr. Wentworth, who is

23      sort of the counterpart at LigTel that deals with these

24      things, is that there's no reason the software can't be

25      updated immediately.      So I think in terms of what's
                                                                      026
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1       reasonable, I don't think know need much time, within a week

2       probably to get this thing out.

3           I do think that BaiCells would need to contact its

4       customers and explain that, you know, previously they were

5       hoping to do the update by the end of July, but they're

6       speeding up the process.      But, you know, I think any sort of

7       burden from that they've brought on themselves, so it's not a

8       reason to not issue an injunction.

9           The sort of voluntary cessation of illegal action isn't a

10      reason to not require them to stop doing the illegal action.

11                 THE COURT:   And I apologize, because I don't recall

12      the name of the administrative agency to which BaiCells

13      submitted its Mitigation Plan, but the BaiCells Mitigation

14      Plan, as I understood it, has been approved by that agency,

15      correct?

16                 ATTORNEY GABRIEL GILLETT:      That's right.     That agency

17      is what I've been referring to as ATIS, A-T-I-S.

18                 THE COURT:   Thank you.

19                 ATTORNEY GABRIEL GILLETT:      And ATIS has approved the

20      Mitigation Plan.     But ATIS is a voluntary industry group.         And

21      so nothing that ATIS does is binding or enforceable.           That's

22      what we need the Court for.       And that's frankly why we're

23      here, that we learned of the problem.        We talked to BaiCells

24      about it.    BaiCells had no explanation for what it was doing

25      and said it would not stop.       So then we went to ATIS.
                                                                      027
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1           BaiCells resisted the ATIS process and eventually came up

2       with a Migration Plan that we think is inadequate, as we've

3       discussed.    But even then, you know, we felt like we needed to

4       come to court to get an injunction to make sure this happens,

5       and make sure that the migration is both -- it happens quickly

6       and it happens completely.       Because we don't trust, based on

7       our activity (phonetic) with BaiCells and based on the

8       evidence in the record.

9           That just them saying, "We'll migrate the code in July"

10      gives us no comfort.      We know when there's confusion and

11      there's confusion today.      We know that we're being harmed

12      today, so we think we need an injunction today.

13                THE COURT:    Okay.    Thank you, Mr. Gillett.      I may

14      have some follow-up questions from you after I hear from Mr.

15      Arceneaux.

16          Mr. Arceneaux, you want to go ahead with your argument,

17      and please feel free to address any of the issues that have

18      been posed to Mr. Gillett during his initial argument.

19          Please go ahead.

20                ATTORNEY ADAM ARCENEAUX:       Certainly.    Thank you, Your

21      Honor, and I do intend to cover all of them.

22          I'd like to go back to the incident which brought us all

23      here today, and that was in June of 2019 when Viaero Wireless

24      out in Colorado was experiencing some radio frequency

25      interference with another network provider in Nebraska,
                                                                      028
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1       Sandhills Wireless.

2           I think it's important to know that the interference

3       itself was not caused by any HNI or PLMN code used by anybody.

4       The interference itself was not caused by BaiCells' equipment.

5       The interference was caused by the fact that the two carriers

6       were using the same radio frequency, 3.65 or 3.70 megahertz,

7       to be precise.

8           So when that happened, we understand from the record that

9       Jeff Brown, Viaero, contacted Josh Wentworth at LigTel on June

10      21st.   And I would refer the Court to Exhibit 10 of Mr.

11      Wentworth's declaration, and that can be found at docket

12      number 36-46.    It's a June 26, 2019 e-mail that Mr. Brown sent

13      to Mr. Wentworth when this issue arose.

14          And that e-mail contains two things of note.          It contains

15      a screen shot of Viaero's modem that they used to identify --

16      Sandhills is another network operator.         And on that screen

17      shot, it says "PLMN 31198."       So what Viaero saw was not the

18      311980 number.     What Sandhills was broadcasting was a 31198.

19          Now, the second part of that e-mail contains a link to

20      BaiCell's website as it existed as of June 26th where the

21      website admittedly contained many references to the number

22      that BaiCells had been using, which is 31198.

23          So that's the information that Viaero had and communicated

24      to LigTel when this issue arose.        Now BaiCells first learned

25      about this radio frequency incident on July 2nd, 2019 when Sam
                                                                      029
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1       Tetherow of Sandhills submitted a ticket on BaiCells' port

2       (phonetic) website.

3           Rick Harnish who, Your Honor, was listening in on the

4       hearing today, and then he was a director of wireless internet

5       service provider markets, and I had a phone conference with

6       Mr. Tetherow on July 9th.      And Mr. Tetherow believed that the

7       interference issue on that band, reported that Viaero had

8       contacted LigTel and reported that Sandhills had temporarily

9       resolved the issue with LigTel.

10          Same day, Mr. Harnish had a conversation with Steve Barnes

11      of New Lisbon phone company.       And Mr. Barnes reported that

12      Randy Mead, LigTel's showroom (phonetic) manager had contacted

13      New Lisbon to ask about --

14                 THE COURT:   Mr. Arceneaux, I hate to interrupt you,

15      but could you speak up just a little bit?         I'm having a little

16      bit of trouble hearing you.

17                 ATTORNEY ADAM ARCENEAUX:      Yes, Your Honor.     Is that

18      clearer?

19                 THE COURT:   That's better I think.

20                 ATTORNEY ADAM ARCENEAUX:      Okay.   I'll try to make

21      sure that you and the Court Reporter can hear clearly.

22                 THE COURT:   Thank you.

23                 ATTORNEY ADAM ARCENEAUX:      So when Mr. Harnish learned

24      of this issue, they had a conversation with LigTel on July 12

25      with Mr. Wentworth and agreed to meet on July 29th, which they
                                                                      030
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1       did.

2           Now, at that meeting, LigTel made 2 alternative demands to

3       BaiCells.    Either number 1, migrate to a new HNI code, or

4       number 2, pay LigTel a million dollars so LigTel can migrate

5       to a new code.     Well, BaiCells decided we're going to migrate

6       to a new code, and that's what they've been doing.

7           BaiCells has implemented a 5-phase Migration Plan.           And

8       this plan is described in detail in Mr. Harnish's 2

9       declarations, which can be found on the record 37-2 and 35-3.

10      It's a 5 phase.

11          First phase, obtaining a new HNI code.

12          Second phase, develop new software to integrate on a new

13      cloud core EPC to utilize the new code.         Let me pause there.

14          BaiCells provides equipment, bay stations.          They also

15      provide a cloud environment.       Cloud core EPC stands for

16      evolved packet core.      And what that does, it allows network

17      operators to move certain hardware functions to a cloud-based

18      computing platform.

19          Now, the cloud core only broadcasts one HNI.          So that's

20      why as part of this Migration Plan, we had to develop, in

21      addition to developing new software, a new cloud core to

22      broadcast the new HNI.

23          Phase 3, scenarios testing and migration preparation.

24          Phase 4, network validation.

25          And phase 5, announcement and migration of the operator
                                                                      031
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1       networks to the new software and the new cloud core EPC.

2           As Your Honor noted, this has all been done under the

3       auspices of ATIS, more specifically the NC Oversight Counsel

4       or the IOC, which is the division of ATIS responsible for the

5       management of these codes in the United States.

6           So BaiCells began its work with the IOC or ATIS on July

7       22nd, before it even met with LigTel, when it submitted an

8       application for its HNI.

9           On September 12th, BaiCells submitted its appeal of the

10      Migration Plan to the IOC.       The IOC met on September 20,

11      reviewed and agreed upon the plan.

12          On November 6, there was another IOC meeting where the IOC

13      reviewed an ATIS summary of the plan, and BaiCells agreed to

14      provide periodic updates on progress.        And BaiCells submitted

15      progress reports December 20, February 20, March 18 and just

16      this morning, as a matter of fact.        The IOC has never proposed

17      any change to the plan or based on the updates and has

18      approved the plan.

19          So let's talk about what's been accomplished.           Phase 1,

20      BaiCells obtained its new HNI code on July 29, 2019.

21          On August 7, BaiCells began developing its new software

22      and the new cloud core EPC environment.

23          In September, it began testing the new HNI code and

24      confirmed by the end of September preliminary testing of that

25      new code.
                                                                      032
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1           In October of '19 BaiCells recruited customers for trial

2       testing of the new software and to identify and resolve any

3       bugs.    As I'm sure the Court is aware, anytime you develop

4       software, there are always bugs.        And so it's a process to

5       find solutions to those and to develop new versions of the

6       software until it works properly.

7           In October of 2019, BaiCells ceased shipping the old SIM

8       cards.   And from that point forward, only ships SIM cards

9       containing the new HNI code.       And I'm going to talk about SIM

10      cards in a little bit here.

11          November of 2019, BaiCells began rewriting numerous

12      guides, training materials, data sheets, continued running its

13      test scenarios, monitoring data logs, identifying corrected

14      bugs and software.

15          In December, BaiCells listed additional customers to

16      conduct trials of the new software and cloud core.           And on

17      December 10th, made its first announcement of new software

18      upgrades for certain equipment to facilitate the change and

19      continued testing.

20          In January of 2020, BaiCells began work to replace all

21      documents on its website to reflect the new HNI, and that work

22      was completed after our first call with the Court before

23      February 19, 2020, which was about a week after that call.

24          On July 29, 2020, BaiCells announced the release of new

25      software; this is all changed to the new code.
                                                                      033
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1           February 28th, announced a new firmware upgrade to correct

2       bugs from the previous version.       And with the release of that

3       version, once they were satisfied that the bugs had been

4       worked out, began its aggressive campaign for network

5       operators to upgrade.

6           Now, on March 18th, they laid down the gauntlet.           They

7       were no longer encouraging.       The announcement was instructing

8       network operators to upgrade all of their bay stations and to

9       view cloud core and telling them, "We are retiring the Legacy

10      Cloud Core on July 1st.      If you don't upgrade between now and

11      then, you risk going off line."       So it really isn't an option

12      for any network operator that uses BaiCells' equipment.

13                THE COURT:    I'm sorry, Mr. Arceneaux.       Mr. Arceneaux.

14      Mr. Arceneaux.

15                ATTORNEY ADAM ARCENEAUX:       Yes.

16                THE COURT:    Real quick.     With respect to the upgrade,

17      so that's not the end user that's conducting the upgrade; is

18      the service provider the one that's conducting the upgrade,

19      and then it automatically is pushed to the end user or are

20      these 60,000 consumers going to have to do something with

21      respect to the upgrade?

22                ATTORNEY ADAM ARCENEAUX:       No, Your Honor.     The

23      upgrade we're talking about, there are currently 544 network

24      operators, and those are the people that we're talking about

25      upgrading to the new software and the new cloud core.
                                                                      034
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1           Now that upgrade does require the operators to have a bit

2       of down time, so there is some momentary network interruption

3       to the end users.     But with the exception of that, the end

4       users don't have to do anything.        It's the 544 network

5       operators.

6           So as we sit here today, phases 1, 2, 3 and 4 are complete

7       and we're in the final stage of phase 5.         Of the 544 network

8       operators, on April 7th we submitted to the Court that 26

9       percent of them had converted and are currently broadcasting

10      the new HNI code 314-030.

11          I learned this morning, Your Honor, that number is now at

12      35 percent.    And so BaiCells is on track to convert all 544

13      network operators by the July 1st, 2020 deadline that's been

14      approved by ATIS, and it's been communicated to the network

15      operators.

16                 THE COURT:   With respect -- with respect to those 35

17      -- with respect to those 35 percent -- so --

18                 ATTORNEY ADAM ARCENEAUX:      Yes.

19                 THE COURT:   -- the 35 percent that have now completed

20      the upgrade, are those consumers no longer emitting the 31198

21      number?

22                 ATTORNEY ADAM ARCENEAUX:      That is correct, Your

23      Honor.    They are only emitting the new HNI code 314030.

24                 THE COURT:   So do they --

25                 ATTORNEY ADAM ARCENEAUX:      After July 1, that will be
                                                                      035
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1       100 percent.

2                  THE COURT:   Do they have to switch out those SIM

3       cards?

4                  ATTORNEY ADAM ARCENEAUX:      No, Your Honor, they don't.

5       And the reason they don't is the SIM cards do not broadcast

6       the HNI code.    The SIM cards contain encrypted data and cannot

7       and will not connect to a network unless the encrypted data

8       connect.

9           And I would refer the Court to Jesse Raasch's declaration,

10      which can be found in the record at 37-3, April 9th, where Mr.

11      Raasch goes to great lengths to explain the technical reasons.

12      But let me just summarize.

13          Each SIM card contains a customer encryption code or a K

14      value, an operator encryption value code or an OP or OPC

15      value.   And when a customer device -- in this case, we're

16      talking about typically home computers in rural areas.

17      They're connecting to the providers for wireless fixed

18      Internet broadband.     The SIM card is located in a receiver

19      that is literally mounted to the side of the house.           And when

20      somebody logs onto their computer and tries to access their

21      network provider, in order to do so, it's not just the HNI

22      code, it is the K value and the OP value, which have nothing

23      to do with the HNI code, that have to match and be

24      authenticated by the network operator's cloud core system to

25      be accepted into the network.
                                                                      036
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1           And so there's absolutely no threat posed by the SIM

2       cards.   There's absolutely no reason to change those out.

3           What Mr. Gillett referred to is if you open up the box

4       mounted to the side of the house, and you remove the SIM card,

5       which no consumer would ever have any reason to do.

6           Yes, there is a lengthy IMSI code printed on the outside

7       of it that begins with the numbers 31198, followed by a series

8       of zeros and other numbers.       Nobody looks at those numbers for

9       any reason whatsoever.

10          The only thing that matters for purposes of connecting to

11      the network are the embedded K value, the embedded OPC value,

12      in addition to whatever IMSI number is embedded.

13          So that's maybe more than you want to hear on SIM cards,

14      but I would refer the Court to Mr. Raasch, who gives an

15      excellent technical explanation of encryption and what's on

16      those SIM cards.

17                THE COURT:    And Mr. Arceneaux, I just --

18                ATTORNEY ADAM ARCENEAUX:       Yes.

19                THE COURT:    -- one of the questions that I have for

20      BaiCells is with respect to the balance of the harms.           Can you

21      walk the Court through the impact of immediately terminating

22      BaiCells' use of that number?       If the Court was to issue an

23      injunction that required BaiCells to stop using the HNI code

24      by, say, close of business on Friday, what impact does that

25      have on the end consumer?
                                                                      037
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1                 ATTORNEY ADAM ARCENEAUX:       Yes, Your Honor.     The 544

2       network operators that use BaiCells' equipment serve 26,248

3       end users.

4           Now, the market that BaiCells serves and its network

5       operator serves, rural Americans.        And in many of these

6       markets, the network operators are the only (Indiscernible)

7       source of Internet access.       It's not like in urban areas where

8       you have the choice of 3 or 4 providers.         They're it.

9           So if the Court were to order today, you know, you're cut

10      off, we would have to immediately shut down the old cloud core

11      that uses the Legacy number.       And for the, I guess as we sit

12      here this morning, 65 percent of those 544 network operators

13      who have not yet completed their upgrade, worked out all the

14      bugs and everything that's necessary to do that, their

15      customers -- and we're talking about tens of thousands of

16      individuals, because each end user, each box mounted to the

17      side of the house or mounted to the side of the business

18      serves multiple family members or multiple business owners and

19      their employees.     So we're talking about ten's of thousands of

20      people who would immediately lose access to the Internet, and

21      it couldn't come at a worse time.

22          We're in the middle of a pandemic where the ability to

23      work from home, the ability for students to get their school

24      work done, many cases the ability to communicate with medical

25      providers, telemedicine would be cut off.         And so that's the
                                                                      038
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1       balance of the harms.

2           First is between now and July 1st, the harm to LigTel, I

3       would submit, is nil.

4                 THE COURT:    Is it possible for BaiCells to expedite

5       this conversion?

6                 ATTORNEY ADAM ARCENEAUX:       Well, I don't want to say

7       it's impossible.     But I will tell you this:      There's a reason

8       that July 1st was picked.      The ultimatum announcement went out

9       March 18th.    That's the do or die convert or you're cut off

10      July 1st.    And so the expectation has been set among the 544

11      network operators that they have that time frame to do this

12      work.

13          They're doing this work during a pandemic, during a time

14      where there's peak demand to add subscribers and to add

15      Internet service.     And so, you know, it's not a great time.

16      And it's not like just flipping a switch.

17          For a network operator to migrate, upgrade the software

18      and migrate from one cloud environment to another requires a

19      bit of work, it requires a bit of testing, it requires

20      resolution of any bugs or issues which arise, and that

21      requires BaiCells to provide the support necessary for that to

22      happen:   Network operator by network operator.

23          There's not a master switch at BaiCells' headquarters that

24      we can flip and this is all done.        It is a one-on-one working

25      with each operator to make this happen.         And that's what we're
                                                                      039
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1       doing.    We're at 35 percent and we're confident by July 1

2       we'll have 100 percent.      Because if we don't, they're cut off

3       and they're not going to risk that.        They're going to make it

4       happen.   So to answer your question, we do need the time.            We

5       do need the time to July 1st.

6                  THE COURT:    So with respect to LigTel's concern that

7       this is non-binding and BaiCells isn't going to complete it by

8       July 1, is it, in fact, going to occur by July 1?           Are the

9       people that have not converted, are they going to be cut off?

10                 ATTORNEY ADAM ARCENEAUX:      Yes, Your Honor, that is

11      what BaiCells has communicated in writing repeatedly to its

12      network operators.      That is what BaiCells has communicated in

13      its Migration Plan and ATIS has approved.         That is what

14      BaiCells has committed to doing.

15          This isn't some flippant exercise that BaiCells is going

16      through for the fun of it.       This is a response to an issue

17      that LigTel raised.     It is one of the two choices that LigTel

18      gave BaiCells is the road that we've chosen to put out and so

19      yes, it is going to happen.

20                 THE COURT:    So why did BaiCells pick 31198?

21                 ATTORNEY ADAM ARCENEAUX:      Here's what I know about

22      that and what the evidence shows about that:          In 2015 when

23      BaiCells' engineers in China were developing the equipment in

24      the cloud core, they had to choose a number.

25          Now, LigTel is correct.       In the United States, HNI codes
                                                                      040
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1       are 6 digits.    We don't argue with that.       In other parts of

2       the world, however, they are 5 digits.         So for whatever

3       reason -- and I don't have a good reason of why this

4       particular number was chosen.       I can tell you that the first 3

5       digits match the U.S. Code.       It's my understanding the last

6       two digits, the 98 were randomly chosen.

7           Now, when BaiCells then rolled out its equipment, began

8       testing in the United States, began implementing it, it simply

9       continued to use the code that had been chosen in the research

10      and development.     And that is the best I can tell you.

11          I can tell you there was no nefarious scheme.           There was

12      no plot to ride on LigTel's coat tails.         But that's what the

13      evidence shows.

14                THE COURT:    Okay.    And I apologize.     I know I kind of

15      interrupted your argument with some of my questions, but they

16      seemed timely, at least they did to me.

17          So you can continue.

18                ATTORNEY ADAM ARCENEAUX:       No, please, interrupt at

19      any time.

20          I'd like to talk about the irreparable harm, because there

21      is a big difference between the briefs of the parties.

22          LigTel cannot rely on a presumption of irreparable harm.

23      It has to present evidence that irreparable injury is likely.

24      The Supreme Court has said so in two cases.         First, Winter

25      versus Natural Resources Defense Council, 555 U.S. 7, 2008
                                                                      041
     USDC IN/ND case 1:20-cv-00037-HAB-SLC document 42 filed 04/22/20 page 41 of 80

1       decision, made it clear that you have to show likelihood of

2       irreparable harm.

3           But the eBay case, which Your Honor brought up, is really

4       key here.    In the eBay case, MercExchange sued eBay for

5       infringement of a business method patent.         The jury found,

6       number 1, patent's valid; number 2, eBay infringed.           The

7       District Court denied the preliminary injunction.           The Federal

8       Court of Appeals reversed applying its general rule that

9       Courts will issue preliminary injunction against patent

10      infringement.    The Supreme Court granted certiorari vacating

11      and remanded (phonetic) and cited the 4 part test for

12      injunctive relief, the same test that's facing us here today:

13      Irreparable injury, inadequate remedies of law, balancing the

14      hardships, public interest.

15          And what the Court said in eBay is:         "As in our decision

16      today, this Court has consistently rejected invitations to

17      replace traditional equitable considerations with a rule that

18      an injunction automatically follows a determination that

19      copyright has been infringed."

20          And the Seventh Circuit in Flava Works versus Gunter

21      relied on eBay and says that eBay governs a motion for

22      preliminary injunction, as well as a permanent injunction, so

23      it applies in both cases and that eBay governs a copyright

24      case as well as a patent case.

25          Now this Court, the Northern District, in Furrion Property
                                                                      042
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1       Holding versus Way Interglobal, 2019 Westlaw 5587147, what

2       Judge Simon said was interesting in that case.          He denied a

3       motion for preliminary injunction; it was a patent case.            But

4       he cited eBay and said, "And while at times federal courts

5       have been a little squishy in applying this otherwise

6       straightforward test -- some have presumed irreparable harm in

7       certain types of cases, others have allowed a sufficiently

8       strong showing of one element obviate the need to show

9       others -- the Supreme Court has made clear that all four

10      elements must be shown and that irreparable harm cannot be

11      presumed."    And Judge Simon cites Flava Works for the

12      proposition --

13          (Whereupon, Mr. Arceneaux is not speaking.)

14                 THE COURT:   Hello.

15                 ATTORNEY GABRIEL GILLETT:      This is Mr. Gillett.      I

16      take it the Court has lost -- doesn't hear Mr. Arceneaux

17      anymore?

18                 THE COURT:   I do not hear Mr. Arceneaux.        Mr.

19      Arceneaux, are you there?

20                 ATTORNEY GABRIEL GILLETT:      No.

21                 THE COURT:   Is anybody for BaiCells still on the

22      line?

23                 ATTORNEY ERIC McKEOWN:     Your Honor, this is Mr.

24      McKeown.   I'm actually pinging Mr. Arceneaux now via e-mail

25      and trying to determine what happened to his audio.
                                                                      043
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1                  THE COURT:   Okay.

2                  ATTORNEY ERIC McKEOWN:     I will note that I actually

3       fell off the line at one point earlier in the call and had to

4       dial back in.    So maybe he has experienced a similar problem.

5                  THE COURT:   Okay.    Hopefully he realizes that --

6       either he thinks we're all incredibly riveted by his comments

7       at this point, or he realizes that he's dropped.

8                  ATTORNEY ADAM ARCENEAUX:      Your Honor, this is Adam

9       Arceneaux.    I apologize.    I'm not sure what happened.

10                 THE COURT:   That's no problem, Mr. Arceneaux.        I know

11      that I have been on a number of calls.         I haven't had it occur

12      in hearings, but I know we've had some weekly calls that have

13      had up to 20 participants, and some of the participants have

14      noted during our calls that some of them have just been

15      dropped.

16          The point that you dropped is when you were discussing

17      Judge Simon's decision and his comments about eBay.           So if you

18      want -- if you would like to pick up from that point.

19                 ATTORNEY ADAM ARCENEAUX:      Okay.   I will.    Judge Simon

20      cites Flava Works for the proposition that eBay applies in all

21      cases, not just utility patent cases.

22          And another court in the Seventh Circuit Illinois Tamale

23      versus El-Greg, 2019 Westlaw 439-5139 expressly held that eBay

24      applies to requests for injunctions in Lanham Act cases.

25          Now, I take the time to walk through that case law,
                                                                      044
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1       because it's an important distinction.         And I believe LigTel

2       is relying on a presumption to get by the irreparable harm

3       element.    And we believe the case law is clear that there has

4       to be some evidence they will likely suffer irreparable harm.

5           So let's talk about what the alleged irreparable harm

6       would be.    I believe that today they talk about 2 of them, but

7       since they raise 5 in their briefs, let's go through it.

8           The first thing they mention is it makes networks of

9       BaiCells' customers appear as LigTel's network.          Okay.   That's

10      the issue that we had out in Colorado and Nebraska.           And as we

11      pointed out before, the carrier, Viaero, sent the email with

12      the screen shot showing, and the BaiCells website link showing

13      that BaiCells was the one associated with that 5-digit number.

14      They've had contact with 3 carriers:        Viaero, Sandhills

15      Wireless and New Lisbon.

16          Sandhills Wireless, according to Mr. Wentworth's

17      declaration, paragraphs 24 and 25, can be found on the docket

18      at 36-36 was "concerned and willing to cooperate," and had

19      "positive discussions with Wentworth."

20          Wentworth contacted another Indiana carrier, New Lisbon,

21      so did Randy Mead, and confirmed -- New Lisbon confirmed that

22      BaiCells had directed it to use the HNI code.          And then they

23      say, "We ultimately chose not to send New Lisbon a cease and

24      desist letter, because we were trying to work in good faith

25      with a fellow Indiana company."
                                                                      045
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1           There's no evidence, Your Honor, that Viaero, Sandhills or

2       New Lisbon thought any less of LigTel as a result of those

3       communications, no evidence that LigTel has ever had,

4       attempted to or ever will do business with Viaero, Sandhills

5       or New Lisbon, or that such a business relationship, if it

6       existed, has been harmed in any way.        Nor is there any

7       evidence as to any other network operator.

8           And, in any event, effective July 1, 2020, no BaiCells or

9       network operator using BaiCells' equipment will broadcast PLMN

10      31198.

11          The second risk of irreparable harm they point to is it

12      makes it appear that LigTel doesn't comply with the rules, and

13      makes it appear we can't manage our network and could lead

14      other providers to treat Ligtel less favorably and may

15      frustrate LigTel's ability to serve its customers.

16          Well, there's no evidence in the record that anybody

17      anywhere has drawn this conclusion.        In fact, the evidence in

18      the record is quite the opposite.

19          If you look at Mr. Wentworth's Exhibit 10 at 36-46, Viaero

20      drew the opposite conclusion and clearly was blaming BaiCells

21      for this matter.     There's no evidence that any other provider

22      has treated LigTel unfavorably, nor has LigTel been frustrated

23      in its ability to serve its customers at all.

24          The third issue they raise:       That it threatens LigTel's

25      reputation with customers and could interpret BaiCells'
                                                                      046
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1       actions as showing that LigTel can't control its network.

2       Well, this is refuted by the evidence.

3           Your Honor, LigTel obtained -- they purchased BaiCell's

4       SIM cards.    We have submitted pictures of them in the record.

5       They tested those SIM cards.       And I would direct the Court's

6       attention to 37-1 on the docket, DeGroote Exhibit C, and this

7       is an email from Mr. Mead to Mr. Wentworth at LigTel dated

8       October 30, 2019.     And he says, "We purchased a BaiCells SIM

9       card from one of their suppliers and tested it on our network.

10      That test verified that BaiCells is not using our encryption

11      codes."   So they have known since at least October of last

12      year that we're not using their codes.

13          All right.     The fourth issue they raise:       It may cause law

14      enforcement to seek information from LigTel about individuals

15      who appear to be LigTel subscribers when, in fact, they are

16      not.   They have offered zero evidence that that has actually

17      happened.

18          Now, the evidence that is in the record, as far as a

19      request from law enforcement, show that what law enforcement

20      relies on when they approach a network provider is an Internet

21      protocol address.

22          As Your Honor is aware, the Internet protocol address has

23      nothing to do with the HNI code.        That's the address when you

24      get on the Internet, it's the address that shows who is on the

25      Internet, the device that is connected, as it were.
                                                                      047
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1           If you look and I would direct your attention to Exhibit D

2       to DeGroote 37-1, this is an e-mail that LigTel produced, I

3       think it was from 2013, that showed that LigTel had a request,

4       they were expecting a subpoena from law enforcement, and law

5       enforcement gave LigTel an IP address number, may have been

6       more than 1; they redacted the IP address as they should have.

7           Anyway, what LigTel is trying to do is search its own

8       system, its own LTE core to identify who the individual is so

9       they could provide law enforcement the name of the person.

10      But it's all done through the Internet protocol address.            And

11      that's consistent with BaiCells' experience that way and

12      there's some testimony on that, too.

13          But the final issue that they raise that I didn't hear

14      mentioned in argument is this roaming issue.          Well, I think

15      that may misunderstand a bit the market that BaiCells serves.

16          It's important to understand the customer network

17      operators who use BaiCells' equipment provide fixed wireless

18      broadband Internet service to rural communities.          That means

19      that there's equipment mounted to the side of the house or the

20      side of the business, and that these customers really can't

21      travel out of the coverage areas, and so there's not a lot of

22      roaming going on.

23          But let's assume there is.       Let's assume roaming is an

24      issue.   It is technologically not possible for somebody using

25      one of the Legacy SIM cards to roam onto another unauthorized
                                                                      048
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1       network or LigTel's network, or be identified as a LigTel

2       customer at all.     And that goes back to the embedded

3       authentication keys, the K value for the subscription value,

4       the operator code or the OP value, and once those match, the

5       subscriber will not authenticate and will not be identified as

6       anything other than the customer of the network with whom they

7       have a contract.     So there really is no risk of roaming.

8           So Your Honor, the record evidence does not continue any

9       showing, much less a clear showing, that LigTel is likely to

10      suffer irreparable harm if an injunction doesn't issue.            And

11      for that reason alone, we request LigTel's motion be denied.

12          Now, let's talk about the merits of the underlying claims.

13      Your Honor, this just is not a Lanham Act claim.          To be a

14      Lanham Act claim, LigTel has to show, number 1, that HNI code

15      311980 is a protectable mark under the Lanham Act; and, number

16      2, that BaiCells' alleged use of that mark is likely to cause

17      confusion among consumers.       If they fail either, they don't

18      have a claim.

19          So let's start with protectability.         LigTel does not use

20      its HNI code in commerce as defined by the Lanham Act.           And,

21      of course, that definition is found at 15 U.S.C. Section 1127.

22      There are 2 ways you can show:       One, if you're dealing with

23      goods, the HNI code must be placed in any manner on the goods

24      or the containers or the displays associated therewith, or on

25      the tags or labels, or if impracticable, on documents
                                                                      049
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1       associated with the goods for sale.

2           LigTel doesn't even make any argument or take any position

3       that it even sells goods consistent with this requirement,

4       since that definition really is not an issue.

5           The other definition has to do with services.           And here,

6       it's clear.    The HNI code must be, 1, used or displayed in the

7       sale or advertising of services; and, 2, the services are

8       rendered in commerce.

9           The record is clear and undisputed, LigTel doesn't even

10      contend that it uses or displays its HNI code in the sale or

11      advertising of services.

12          Now, what LigTel does do in its response brief -- I think

13      it's important to address this head on -- they make a

14      remarkable argument.      They argue that use and commerce just

15      means use as part of its lawful business.         And they cite 2

16      cases for that proposition.       Neither one of those cases stands

17      for that proposition.

18          The two cases are Planetary Motion versus Techsplosion,

19      261 F.3d 1188.     It's an Eleventh Circuit decision from 2001.

20      The other is Planned Parenthood versus Bucci, 1997 Westlaw

21      133313, Southern District of New York, 1997.

22          Now, Planetary Motion dealt with the issue of whether the

23      use of the mark "Coolmail" in distributing software over an

24      Internet website met the test for use of commerce.

25          Planned Parenthood had to do with the issue of the use of
                                                                      050
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1       the mark which incorporated the name Planned Parenthood

2       directed people to an anti-abortion website on an Internet web

3       page satisfied the use and commerce requirement.          Both cases

4       decided that well, sure, the Internet is fine, and they were

5       decided in a period of time when the Internet was rather novel

6       and Courts were deciding these types of issues.

7           In fact, the Planned Parenthood decision, if you look at

8       note 7, expressly addresses the 1127 requirements.           Now, they

9       certainly don't stand for the proposition that all you have to

10      do is show that uses part of your business somehow somewhere;

11      not what the cases say.

12          What this district has said -- in fact, this Court,

13      Northern District of Indiana, MacGregor versus Zhejiang, 328

14      F.Supp.3d 906 at 923, "The use and commerce element is,"

15      quote, unquote, "essential."

16          Your Honor, LigTel doesn't use its HNI code as a mark at

17      all.   It's certainly not used in a way that would allow the

18      consuming public to associate the code with LigTel as a source

19      of the services it provides.       And for that reason alone, it's

20      not a protectable mark and the Lanham Act claim fails.

21          I'd like to move to consumer confusion.         And, of course,

22      what LigTel does show is that BaiCells' use of the mark is

23      likely to cause confusion among consumers, and that the

24      consumers' confusion must be confusion as to the source of

25      goods or services, okay?
                                                                      051
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1           It's only protectable to the extent its consumers can

2       distinguish one company's goods and services from those of its

3       competitors.    An HNI code just doesn't serve that function in

4       any breakdown of categories of consumers.

5           Of course, LigTel's customers are at 1600 subscribers, and

6       prospective subscribers in the counties that LigTel serves.

7       LigTel doesn't argue and there's no evidence of confusion on

8       those folks.    That's not the issue here.

9           BaiCells' customers are network operators, the people who

10      buy BaiCells' equipment.      And there's no confusion among

11      network operators of the source of BaiCells' products and

12      services.

13          The only confusion here was the source of an interfering

14      radio signal, which is not a BaiCells' product or service.            It

15      just isn't the sort of consumer confusion that's actionable

16      under the Lanham Act.      And so for these reasons, two of the

17      Lanham Act claims fail and don't support the issuance of a

18      preliminary injunction.

19          Finally, trade secrets.       The genesis of the trade secret

20      claim is Randy Mead's allegation that Bo Wei, who is a former

21      President of BaiCells -- and I'm going to quote this exactly

22      from Mr. Mead's statement, which can be found on the record at

23      36-23, paragraph 22, Bo Wei "...offered to have [Ronald] Mao

24      get into our Huawei-manufactured core and reprogram it

25      himself, so Mao could do it for free and we would not have to
                                                                      052
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1       pay Huawei to do so."

2           All right.     Now, Mr. Wei categorically denies making the

3       statement.    But let's just assume it's true.        Wei doesn't

4       allege anywhere that Wei stated that Mao could get into the

5       core and reprogram it himself without obtaining any

6       information from LigTel; doesn't say that.

7           Wei doesn't allege that Wei stated that Mao would do so

8       without LigTel's permission.       In fact, to the contrary.       Wei

9       characterizes the statement as an offer.         He offered to do

10      this.   Well, it implies that unless there's acceptance, it's

11      not going to happen.      So that's Wei.

12          Now, LigTel then tries to pin its trade secret conspiracy

13      theory on Ronald Mao, who, Your Honor, is listening in on

14      these proceedings today.

15          LigTel installed its Huawei LTE core in 2012.           Mr. Mao had

16      no involvement with LigTel until the 2015/2016 time period

17      when he was assigned by Huawei in a sales support role.

18          To be clear, Mr. Mao was not involved in the design,

19      configuration, sales or installation of any equipment that

20      LigTel has purchased from Huawei.        Mr. Mao never visited

21      LigTel's facilities, never saw its equipment.

22          Now, the only document that LigTel submitted in support of

23      its allegation that Mr. Mao had access to trade secret

24      information is Exhibit 8 -- pardon me, Your Honor -- Mr.

25      Wentworth's April 3rd declaration.        This document, Your Honor,
                                                                      053
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1       contains about 16 pages of redacted information.

2           So what we're left to rely on is two things:          Mr.

3       Wentworth's characterization of the document, and at 36-36 on

4       the docket, paragraph 18, Mr. Wentworth characterizes it as

5       "Containing locations of towers, development of LTE work and

6       other proprietary information, all of which is a component of

7       the network architecture."

8           Now, Mr. Wentworth does not allege, nor if you look at the

9       document to the unredacted headers on its state (phonetic),

10      that the document contained LigTel's encryption code.           There's

11      no evidence that that document contained the encryption code.

12          Now, what's interesting, though, is that much of the

13      information about LigTel's network architecture is publicly

14      available on the Federal Communication Commission's website.

15      If you go on there, Your Honor, and plug in LigTel, you can

16      find the precise identity and location of each one of its

17      towers by town, latitude and longitude.

18          You could find the manufacturer and make of the equipment

19      that's mounted to those towers.       I can go on forever.      I would

20      direct the Court to Mao's declaration, which is on the docket

21      at 35-4, paragraph 22.

22          So, in any event, there's no evidence that Mr. Mao even

23      looked at the attachment, much less memorized all 16 pages or

24      took it with him.

25          The evidence is that when Mr. Mao's employment was
                                                                      054
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1       terminated June of 2017 at Huawei, Mr. Mao left his laptop

2       computer and all work-related documents with Huawei.             And

3       since he left Huawei, June of 2017, he's not had possession of

4       or access to any documents or information LigTel alleges to be

5       confidential or trade secrets, aside from what he might

6       remember or have access to on the FCC website.

7           Mr. Mao's testified he doesn't even have the ability to

8       get into LigTel's core and reprogram it, much less the desire

9       or inclination or any reason to do so.

10          Final point, Mr. Mao had nothing to do with BaiCells'

11      adoption of PLMN 31198 over in China in 2015.          That started in

12      research and development over 2 years before Mr. Mao became

13      employed at BaiCells.

14          And then I keep coming back to this, because I think it's

15      important and dispositive.       LigTel's own documents, their own

16      evidence, again, found at 37-1, Exhibit C, shows that they

17      tested the SIM cards and concluded October 2019 BaiCells is

18      not using their encryption code.

19          I would add, Your Honor, that BaiCells did an exhaustive

20      search for documents to respond to the discovery.           We

21      produced, I think, in excess of 60,000 pages of documents.

22      None of them contains or constitutes a trade secret.             There's

23      simply no evidence of misappropriation of trade secrets.               And

24      for this reason, too, the motion should be denied.

25          Finally, Your Honor, I want to reiterate, if an injunction
                                                                      055
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1       is issued and finalization of BaiCells' Migration Plan is

2       halted, then literally tens of thousands of Americans will

3       immediately lose access to the Internet at the worst possible

4       time.

5           If an injunction is not issued, and we respectfully submit

6       there's no basis for issuing one, then BaiCells will complete

7       its Migration Plan on July 1, 2020.        At that time, there's no

8       network provider anywhere that will broadcast the code 31198,

9       and the risk of any harm to LigTel, irreparable or otherwise,

10      between now and then is nil.

11          And so for these reasons, Your Honor, BaiCells

12      respectfully requests the Court deny LigTel's motion for a

13      preliminary injunction.      Thank you.

14                THE COURT:    Thank you, Mr. Arceneaux.

15          Mr. Gillett, any brief rebuttal?

16                ATTORNEY GABRIEL GILLETT:       Yes, Your Honor.     Thank

17      you for the opportunity.

18          I'll keep my remarks brief, but I think there are a few

19      things that jump out at me that are very important that the

20      Court understands that make a distinction.

21          The first one, I'll pick up where Mr. Arceneaux left off.

22      He says that the risk of harm to issuing an injunction only

23      occurs if the BaiCells Migration Plan is stopped.           That's not

24      what we are trying to do.      We are not suggesting that the

25      Court cut off anyone from the Internet.         We are not suggesting
                                                                      056
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1       in the context of the world that we find ourselves in that the

2       Court say BaiCells, you need to shut down your equipment

3       immediately.

4           What we are saying is that BaiCells should be ordered to

5       complete its migration and complete it very quickly.           If

6       BaiCells is ordered to complete the migration and complete it

7       quickly, then that resolves our harm for a few reasons.

8       First, there will no longer be signals out there that look

9       like they're coming from LigTel when they're actually coming

10      from BaiCells.

11          Second, no operator will be confused about the source of

12      the signal, and the evidence shows that they have been

13      confused so far.

14          And also, I think it's very important that what Mr.

15      Arceneaux did not tell you is that there's any real difficulty

16      in BaiCells completing this migration now.         The software is

17      written, it's been implemented, it's been rolled out.

18          Now, he said there is no doubt that, you know, on July

19      1st, anyone who doesn't upgrade the software will be cut off.

20      I'd point the Court to BaiCells' response brief at page 5, and

21      the Harnish supplemental declaration, paragraph 5, which does

22      not say that.

23          What BaiCells says is that anyone who hasn't upgraded by

24      July will "risk going off line."        Now, I think that's really

25      important, because of the history and context of this case.
                                                                      057
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1       And that is that BaiCells has been using our code, has no

2       explanation for doing so, and really no excuse for doing so,

3       and they've been doing it with impunity.         They've did for

4       years.   They've did it even after we sued.        They kept it on

5       their website until this Court intervened.

6           And I thought it was interesting that the frame that is

7       offered in the declarations and in Mr. Arceneaux's

8       presentation to say BaiCells took LigTel's code off of its

9       website on, I think the date they gave is February 19th.

10      Well, that wasn't a voluntary decision.         That was because the

11      Court said to BaiCells at a hearing why in the world is their

12      code on your website and they had no reason for it to be

13      there.   And I think that's emblematic of why we think an

14      injunction is so important here, a preliminary injunction.

15          It's not the end of the day.        It's not a final decision.

16      But we think it's important, because there is nothing binding

17      and enforceable about that ATIS migration process.

18          So although BaiCells says they'll finish everything by

19      July, there's no reason they need to, and there's no reason

20      that if on July 1st, they say, you know what, we don't want to

21      have -- to force the remaining, say, 20 percent of providers

22      out there who still haven't upgraded to do that.          Based on the

23      declaration BaiCells has offered, maybe those people will not

24      be cut off, and we think that an injunction issued by the

25      Court will not only ensure that that upgrade happens, but it
                                                                      058
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1       also can be tailored to avoid any risk of harm to non-parties.

2           And so I think it's important for the Court to not be

3       confused that there is not a risk that issuing an injunction

4       will cut anyone off from the Internet.         The injunction will

5       say BaiCells needs to do the migration and do it now, and that

6       migration prevents people from getting kicked off the

7       Internet.    I think the other thing --

8                  THE COURT:   When did LigTel become aware of the

9       BaiCells Mitigation Plan?       I know they said they submitted it

10      back in September of 2019.       When exactly did LigTel become

11      aware of that Mitigation Plan?

12                 ATTORNEY GABRIEL GILLETT:      I believe at the same

13      time, Your Honor.     The Mitigation Plan was submitted as part

14      of the ATIS process that we started, because we went to ATIS

15      and said BaiCells is using our code, make them stop, and

16      that's -- there was some delay in actually getting the

17      Migration Plan from BaiCells, but we were a part of that

18      process.

19                 THE COURT:   Okay.    So BaiCells -- I'm sorry -- LigTel

20      has known of the July 1 date since September?

21                 ATTORNEY GABRIEL GILLETT:      Actually, that I don't

22      think so.    We've known of the Migration Plan.        I don't believe

23      that the July 1st date was part of the process.          Back then, I

24      apologize, I do not know when July 1st came into the mix.            But

25      BaiCells has said July 1st to its customers as of, I think,
                                                                      059
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1       March 18th.    You know, I think 9 months after we alerted them

2       to this issue.

3           So I think that, to me, is another example of the need for

4       an injunction, because nothing about what BaiCells has done at

5       any stage in its activity related to LigTel's code suggests

6       that BaiCells will just do this because they think it's

7       important.    At every step, they continue to say things like

8       the code is 31198, so therefore, it's different than 311980.

9           The undisputed evidence is that's not true.          ATIS says

10      it's not true.     The administrator says it's not true.

11      BaiCells own communications to each other say it's not true.

12          I think Mr. Arceneaux pointed to Exhibit 10 to the

13      Wentworth declaration.      It's this message with Jeff Brown.

14      And Mr. Arceneaux noted that there's a screen shot that says

15      31198, and there's a link to the website that refers to 31198.

16      What Mr. Arceneaux didn't mention for the Court is that the

17      e-mail on top of those 2 is a quote from the Jeff Brown

18      writing, and he says, "Sandhills Wireless is using your

19      MCCMNC" -- which is another way to say HNI code.          "BaiCells

20      should not be telling clients to use your information.

21      Sandhills should be shut down until they have their own

22      MCCMNC."

23          I think that's an example of the confusion that's being

24      caused.    And BaiCells reads that to say well, there wasn't any

25      actual harm, because LigTel intervened and fixed the problem.
                                                                      060
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1           But, Your Honor, I think that gets the standard for a

2       preliminary injunction backward.        It's not that we are

3       obligated to avoid harm to ourselves by going out and

4       disabusing providers of the notion that the signal that looks

5       like it's coming from us is not coming from us.          It's the

6       other way around.

7           We've shown, based on that actual confusion, that there's

8       a likelihood of harm if that confusion continued, because it

9       was only by virtue of us talking to Viaero that we protected

10      our goodwill and reputation.       And I think it's a little bit

11      frustrating to hear BaiCells talk about how, you know, we

12      aren't being harmed because we fixed the problem.           But the

13      reality is they're doing this all over the country.           And so we

14      have no way of knowing which providers out there see a signal

15      that looks like it's coming from us and don't realize that it

16      is not.

17          I think the other thing that's important to address is the

18      likelihood of success issues.       And Mr. Arceneaux ticked

19      through them.    You know, I think our brief pretty clearly

20      addresses the customer issue, and I think you might have

21      noticed that, even in describing how the Lanham Act works,

22      what BaiCells is trying to do is switch the frame from

23      BaiCells' customers to the end user customers, which he

24      (phonetic) did admit are not BaiCells customers.

25          The relevant market here, which the Seventh Circuit
                                                                      061
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1       directs you to look at, the relevant market is Internet

2       service providers.     It's their confusion that's cognizable

3       under the Lanham Act.      It's their consideration of the meaning

4       of an HNI code.     It's not end users.     And I think that plays

5       into BaiCells' point about whether the market is protectable.

6           They say that use and commerce isn't shown because end

7       user customers don't use the HNI code.         But I think as I've

8       explained, and as our briefs lay out pretty clearly, what

9       matters for purposes of use and commerce is whether it is used

10      in commerce.    It's what the phrase means and the Courts have

11      interpreted that to mean that the Lanham Act, protectable

12      marks under the Lanham Act include everything that is

13      considered interstate commerce within the Constitution, and I

14      don't think there's any dispute what we are doing and what

15      BaiCells is doing qualifies as that.

16          The other point, the other aspect of protectable marks is

17      whether the mark is identifiable, whether it identifies the

18      holder of the mark.     And I think BaiCells' argument is end

19      users don't identify the HNI code with LigTel.          That might be

20      true, but it's not relevant here, because the evidence shows

21      that Internet service providers do associate LigTel with the

22      HNI code.

23          In fact, that's why Jeff Brown contacted us.          And that's

24      why Sandhills agreed to enter into a license to use our code,

25      and that's ATIS assigned the code to us.         It's precisely
                                                                      062
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1       because we're identified with that code.         And so anything that

2       deals with that code improperly, whether it's through a signal

3       or through communications that use the code, has a risk of

4       harming our goodwill and reputation, because it suggests that

5       we're involved with it and we're not.

6           I think that brings me to another aspect of Mr.

7       Arceneaux's presentation, which was about SIM card.           And I

8       think it's really important that the Court understand how the

9       SIM cards work here.      The SIM cards do not have anything to do

10      with the signal.     The SIM cards are, as he said, they are

11      affixed -- they're physical chips.        They're part of the

12      equipment.

13          Now, I direct the Court to Wentworth declaration, which is

14      document 37 on the docket -- or excuse me, 36.          Document 36-47

15      is pictures of these SIM cards.       And what you'll notice is

16      that they all say on them 311980, LigTel's HNI code.           And the

17      reason that matters is not because a customer is going to open

18      up its device and look at a chip; we don't think they will.

19          But it matters because Internet service providers do

20      exactly that.    When someone -- when an Internet service

21      provider looks at a SIM card that starts 31198 or 311980, they

22      presume that this is a LigTel card, when it's not.           Law

23      enforcement does the same thing.

24          And I think Mr. Arceneaux highlighted the exhibit attached

25      to Ms. DeGroote's declaration that talked about IP address.
                                                                      063
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1       And it is true those documents talk about IP address.           The

2       thing that those documents also say, at least they make clear,

3       is that LigTel uses the IMSI number, which includes the HNI

4       code to associate customers with IP addresses.          And I've

5       spoken with Mr. Wentworth.       I spoke with him yesterday, and he

6       is prepared -- we have a declaration prepared that we will

7       offer, Your Honor, if we can submit it, where he lays this out

8       a little bit more clearly.

9             But what he explains is that in that message, when law

10      enforcement comes to him with an IP address, the IP address is

11      temporary.    It is not tied to a particular consumer for all

12      time.   It's tied to a particular consumer at a particular date

13      in time.

14            And so when he gets a subpoena for IP address information,

15      he goes back to Huawei, as you see in those messages, and he

16      tries to figure out what is the IMSI number attached to the IP

17      address at that point.      The IMSI number has the HNI code in

18      it.   So it is critical that the HNI code be accurate and

19      actually be a LigTel subscriber, otherwise law enforcement

20      will be confused.

21            And there's a second aspect of the SIM card in law

22      enforcement that Mr. Wentworth has explained, and that is, it

23      has to be a physical seizure of devices.         So if law

24      enforcement does an investigation that starts online, they go

25      by IP address.
                                                                      064
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1           When they execute a physical search warrant of the

2       physical address that corresponds to the IP address, they

3       seize all of the devices on the premises, and they open up

4       those devices and look at the SIM cards to figure out who is

5       the provider of service to that device.         When they open up the

6       device, and they see a SIM card that says 311980, guess who

7       they come to?    It's LigTel.     It's not someone else.      It's not

8       Sandhills or Viaero, because they don't have that HNI code.

9           And so I think it's important to recognize that the SIM

10      card issue is a real one, even independent of the signal

11      problem.

12          I think that that -- you know, I think what I'll -- just

13      one final point for Your Honor, and that is to really

14      reinforce the irreparable harm here.        Because I think the

15      facts are undisputed to show that our code is being used and

16      used improperly.     I think that improper use shows that we're

17      likely to succeed on the merits of our Lanham Act claims based

18      on that improper use.

19          I think we're suffering harm, and the harm is irreparable,

20      not because of -- because it's a Lanham Act claim.           It has

21      nothing to do with eBay and Flava Works.         The harm we're

22      suffering is irreparable because it can't be quantified into

23      damages, because it is harm to our goodwill and reputation.

24          And Mr. Arceneaux said, you know, the issue is we're not

25      allowed to rely on a presumption of harm, we have to show the
                                                                      065
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1       harm.   We've done that.     That's what the evidence shows.

2       That's in the Wentworth and Mead declarations.          That's the

3       statements from Jeff Brown from Viaero.         That is the

4       undisputed use of our code in a way that makes it look like

5       it's our signal and it's not.       We've shown that evidence.        The

6       only presumption we're relying on is, once we've shown harm to

7       our goodwill and reputation, that harm is irreparable as

8       opposed to compensable by damages.        And I don't hear Mr.

9       Arceneaux to say otherwise.       I don't read eBay and Flava Works

10      to say otherwise.     They're talking about a different issue,

11      which is whether you have to show harm at all.

12          And I think the last point we've gone through the elements

13      is just to reinforce where I started with this rebuttal of

14      ours, and that is that the Court can issue an injunction that

15      has real important value to us.       It would not cut anyone off

16      from the Internet, because all the injunction need do is make

17      BaiCells complete the Migration Plan now, as opposed to

18      waiting until July, in the meantime when we are still at a

19      risk of harm, and no one would be cut off from the Internet.

20          As Mr. Arceneaux said, when the upgrade happens, there is

21      a "momentary network interruption."        It is not as though the

22      upgrade kicks any user off of the Internet.         It doesn't

23      require the user to do anything.        It is a software upgrade

24      that happens at the Internet service provider level.           It's

25      already happened for some providers, and it can happen again
                                                                      066
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1       very quickly, which would fix our harm and only be a minimal

2       burden on BaiCells that it's brought upon themselves.

3           Thank you, Your Honor.

4                 THE COURT:    Thank you, Mr. Gillett.

5           Mr. Gillett, Mr. Arceneaux and all counsel, I would like

6       to thank you for the thorough briefing and today's arguments.

7           What I would like to do, the Court at this point is going

8       to take the motion under advisement.          However, we will do our

9       best to issue a decision on the motion promptly.          But again, I

10      thank you for your participation today, and we'll get an order

11      out as soon as we can.      Thank you.

12                ATTORNEY ADAM ARCENEAUX:          Thank you, Your Honor.

13                ATTORNEY GABRIEL GILLETT:         Thank you, Your Honor.

14                                      *   *   *

15

16                          CERTIFICATE OF THE REPORTER

17            I hereby certify that the foregoing proceedings is true

18      and correct, as taken down and transcribed to the best of my

19      ability, with the aid of realtime computer-aided

20      transcription and/or transcriptionist.

21                              s/ Tina M. Gallucci__________________
                                Tina M. Gallucci, RMR, CRR, FCRR
22                              United States District Court Reporter

23

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